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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 RODNEY JONES,

                        Plaintiff,                   CASE NO.: 24-1457

         V.

 SEAN COMBS,
 JUSTIN DIOR COMBS,
 CUBA GOODING, JR.,                                  DECLARATION OF DONALD S.
 LUCIAN CHARLES GRAINGE,                             ZAKARIN IN SUPPORT OF MOTION
 KRISTINA KHORRAM,                                   OF DEFENDANTS UNIVERSAL MUSIC
 LOVE RECORDS,                                       GROUP, MOTOWN RECORDS AND SIR
 MOTOWN RECORDS,                                     LUCIAN GRAINGE FOR SANCTIONS
 UNIVERSAL MUSIC GROUP,                              PURSUANT TO 28 U.S.C. SECTION 1927
 COMBS GLOBAL ENTERPRISES,                           AND UNDER THE INHERENT POWER
 JOHN and JANE DOES 1-10; and                        OF THIS COURT
 ABC CORPORATIONS 1-10,

                        Defendants.


I, Donald S. Zakarin, declare as follows:

       1.       I am a member of Pryor Cashman, LLP, counsel for former Defendants Sir

Lucian Grainge CBE, and Motown Records (a division of UMG Recordings, Inc.). Plaintiff had

also named Universal Music Group as a defendant but there is no such juridical entity. Universal

Music Group is an umbrella name commonly used to refer to all of the various companies and

record labels that are encompassed within UMG Recordings, Inc. I therefore assume that

Plaintiff has misnamed Universal Music Group, intending to actually name UMG Recordings,

Inc. and I will refer to Universal Music Group herein as UMG Recordings, Inc. ("UMG

Recordings").    I have personal knowledge of the facts set forth in this Declaration and if called

and sworn as a witness, I could and would competently testify thereto.




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        2.      I am submitting this declaration in support of the motion of Sir Lucian Grainge,

Motown Records and UMG Recordings, Inc. (collectively, "UMG") for sanctions against Mr.

Blackburn pursuant to 28 U.S.C. § 1927 and against Mr. Blackburn and the Plaintiff pursuant to

the inherent power of this Court.

        3.      While I believe that the Plaintiff and Mr. Blackburn should appropriately have

been sanctioned for their conduct in this matter pursuant to Rule 11 of the Federal Rules of Civil

Procedure — UMG served two Rule 11 motions detailing the conduct of both Plaintiff and Mr.

Blackburn in violation of its requirements, the first directed to the First Amended Complaint

("FAC") in this action and the second directed to the Second Amended Complaint ("SAC") — I

recognize that Rule 11 provides a "safe harbor" where the offending submission is withdrawn or

corrected within 21 days and the motion for dismissal was filed just barely within that 21 day

period. However, that same "safe harbor" does not exist under either 28 U.S.C. § 1927 or the

inherent power of this Court.

       4.       All of the relevant facts are set forth in my declaration in support of UMG's

motion for Rule 11 sanctions. I therefore submit that declaration and its attached exhibits, not

for purposes of pursuing a Rule 11 motion, but to provide all of the relevant facts applicable to

this motion for sanctions pursuant to 28 U.S.C. § 1927 and the inherent power of this Court. A

copy of my Rule 11 declaration is attached hereto as Exhibit A. Attached to my Rule 11

declaration as exhibits 1, 2, 3 and 4 thereto are the declarations submitted by UMG in support of

their motion to dismiss the SAC: the declaration of Sir Lucian Grainge dated April 18, 2024; the

declaration of Martha Braithwaite dated April 18, 2024; the declaration of Ethiopia Habtemariam

dated March 27, 2024; and my declaration, dated April 24, 2024.




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        5.      As detailed in my Rule 11 declaration, I sought, at the very outset of this case, on

March 4, 2024, to explain to Mr. Blackburn that his allegations against UMG were factually

baseless and that there was also no legal merit to the claims asserted in the FAC. A copy of my

March 4, 2024 letter to Mr. Blackburn is attached hereto as Exhibit B. Had he conducted a

proper examination of the facts and the law, he could not have filed the FAC against UMG and

he could have and should have dismissed the FAC at that point, which would have spared my

clients the hundreds of thousands of dollars in unnecessary legal fees and expenses that this

action has now cost them.

       6.       Instead, Mr. Blackburn filed not one, not two but three separate versions of the

complaint in this action filled with scurrilous accusations of criminal conduct against Sir Lucian

Grainge (CBE) personally and against Motown Records and UMG Recordings, Inc. He changed

his "facts" and his theories from the FAC to the SAC (confirming that the FAC itself was

factually and legally baseless). He forced UMG to file two succeeding motions to dismiss (one

directed to the FAC and then, after he amended the FAC, a second directed to the SAC) and to

serve two motions for Rule 11 sanctions against both Plaintiff and his counsel Mr. Blackburn.

       7.       Then, despite having been in possession of UMG's original motion to dismiss

since March 27, 2024 (which detailed the factual inaccuracies and legal errors that largely

mirrored the factual inaccuracies and legal errors that permeated the SAC and were addressed in

the UMG Defendants' motion to dismiss the SAC), on the very eve of when they were required

to file their opposition to UMG's motion to dismiss the SAC, Plaintiff and Mr. Blackburn




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"voluntarily" moved to dismiss all of their allegations and claims against UMG, specifically

admitting there was no basis for the allegations and claims.'

        8.       The word "voluntary" is not really applicable here because Plaintiff and Mr.

Blackburn had no legal or factual basis on which to oppose UMG's motion to dismiss. And they

had no basis for opposing the motion because all of the claims and the accusations against UMG

that filled the original complaint, the FAC and the SAC were knowingly false to begin with. As

I said, I made that clear at the very outset of this case, in my March 4, 2024 letter to Mr.

Blackburn, demanding the dismissal of all of the claims and allegations against UMG, before

UMG were forced to incur hundreds of thousands of dollars in legal costs in moving to dismiss

two successive complaints and to serve two successive Rule 11 motions. But instead of

dismissing the claims and allegations, Mr. Blackburn doubled down on them. So we had no

choice but to file our first motion to dismiss directed to the FAC, which we did on March 27,

2024.

        9.       But just as he ignored my March 4, 2024 letter, instead of actually paying

attention to the indisputable facts and law set out in our motion to dismiss the FAC and in our

first Rule 11 motion and dismissing the claims and allegations against UMG, Mr. Blackburn

filed a letter motion, filled with completely false assertions about the contents of the FAC,

seeking leave to file a SAC. We opposed that motion because, while the proposed SAC

completely changed the legal theories and the "factual" allegations supposedly supporting the




1I have practiced law as a member of the bar of this Court since 1976. I have never before
served a Rule 11 motion and I have also never before served a motion for sanctions under 28
U.S.C. § 1927. I believe sanctions should be reserved for the most egregious conduct by a
litigant and a lawyer. I believe it is absolutely warranted here.
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claims against UMG, the new "facts" and new legal theories remained offensively false and as

legally baseless as the FAC.

        10.    The Court conducted a telephonic conference on April 9, 2024 to address the

Plaintiff's motion to amend. In that conference, in response to Mr. Blackburn's description of

his new theory for Plaintiffs claims against UMG, the Court made clear that it did not see any

basis for any claim based on his new theory.2 But that too did not deter Mr. Blackburn. He

again doubled down and filed the SAC on April 12, 2024.

        11.    Thus, we were required to file yet another motion to dismiss, this time directed to

the SAC and we served our second Rule 11 motion, requiring UMG to unnecessarily incur

additional legal fees and expenses to do so.

        12.     Mr. Blackburn has not only vexatiously multiplied the proceedings in this matter,

contrary to his protestations, he has actively self-promoted on social media. With respect to our

opposition to his motion to amend to file the SAC (which he has now admitted was baseless), he

announced on social media that not only would the Court grant his motion but that UMG then

would move to dismiss the SAC and he would "crush" us with his opposition. A copy of his post

is attached hereto as Exhibit C. As it has turned out, Mr. Blackburn has somewhat overstated the

outcome of IJMG's motion to dismiss the SAC.

        13.    Plaintiffs opposition to UMG's second motion to dismiss was due on Wednesday

May 15, 2024. Late on May 8, 2024, merely a week before Plaintiff's opposition to the motion

was due, Mr. Blackburn belatedly reached out, proposing to dismiss only the claims against



2 As detailed in my declaration in support of UMG's second Rule 11 motion (Exhibit A hereto),
Mr. Blackburn also misrepresented the status of his non-existent efforts to serve the other
defendants in response to a direct question from the Court and he also did not answer the Court's
direct question about the factual basis for the prior assertion that Motown Records was the parent
company of Love Records.
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Lucian Grainge while retaining the claims against Motown Records and UMG Recordings, Inc.

We made clear that, while that was unacceptable, as Plaintiff had no basis for any claims against

Motown Records and UMG Recordings, we would consider such dismissal only if it were with

prejudice.

        14.    Then, on Friday, May 10, 2024, Mr. Blackburn finally conceded the obvious:

there was no basis for the claims and accusations that he had hurled at Sir Lucian Grainge,

Motown Records and UMG Recordings, Inc. and he advised that he was belatedly prepared to

unconditionally dismiss the SAC as against all of them and strike all of the allegations against

them.

        15.    I made clear to Mr. Blackburn that UMG would not stipulate to the dismissal of

the allegations and claims against them — under no circumstances were we willing to allow Mr.

Blackburn to falsely suggest to the press and in his active social media postings that UMG had

provided any accommodation to obtain dismissal of all claims against them with prejudice - but

that he would instead have to make a motion (and that before we would consent, we would have

to approve of his declaration). Having seen how Mr. Blackburn had falsely characterized his

dismissal of the claims against Ethiopia Habtemariam, UMG were not going to allow Mr.

Blackburn to portray the dismissal as anything other than it clearly was: an admission that the

claims and allegations that had been leveled at UMG, and, in particular, at Sir Lucian Grainge,

were utterly and completely false and were totally lacking in any legal basis whatsoever.

        16.    On May 13, 2024, Mr. Blackburn initially filed the motion to dismiss, supported

by his declaration, admitting that there was no legal basis for the allegations and claims against

the UMG Defendants, but characterized it, incorrectly, as a stipulation. I advised Mr. Blackburn

that I anticipated that the clerk would bounce this filing, and the clerk did so on May 14, 2024.



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Mr. Blackburn then filed the motion to dismiss again, this time properly characterized as a

motion for dismissal of the claims against UMG. And we submitted, on behalf of UMG, our

consent to the dismissal and the striking of all of the allegations contained in the SAC against

UMG, but specifically reserving all of our rights as against the Plaintiff and Mr. Blackburn.

        17.    Plaintiff's and Mr. Blackburn's belated retreat may enable them, under Rule 11's

"21 day safe harbor," to dodge the Rule 11 sanctions that they richly deserve but their conduct

cries out for sanctions. Through three complaints, without any basis whatsoever, not legal and

not factual, our clients, especially Sir Lucian Grainge, have had their names and reputations

dragged through the mud. 1 am prepared, at a hearing, to provide this Court with exemplars of

disgustingly false press and social media postings that have used the allegations of this action as

a springboard to attack Sir Lucian Grainge (including antisemitic slurs), necessitating him to

secure enhanced security for himself and his family.

       18.     Moreover, the two motions to dismiss and the two served Rule 11 motions have

cost our clients hundreds of thousands of dollars in legal fees that should never have been

incurred. Through April 30, 2024, at discounted rates we provide to UMG (and our stated rates

are already substantially below our peer firms in New York), the legal fees and expenses that

UMG has incurred total in excess of $450,000. I am prepared to submit, for the Court's

consideration, our time records and invoices on this matter. All of these legal fees and expenses

could have been totally avoided had Mr. Blackburn dismissed these claims after receiving our

March 4, 2024 letter. And UMG could have avoided some $200,000 of these legal fees and

expenses that were incurred after we served our motion to dismiss the FAC and our initial Rule

11 motion.




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        19.     We gave Mr. Blackburn and Plaintiff clear warning, the very same day they first

filed the FAC, before we expended the hundreds of thousands of dollars of legal fees and

expenses on two motions to dismiss and two Rule 11 motions, that the FAC was factually and

legally baseless and that we would seek sanctions against them if it was not immediately

dismissed.

        20.     Yet they did not dismiss the FAC and so we moved to dismiss it. And then,

armed with the litigation privilege, instead of dismissing the FAC, they simply changed their

theories, changed their "facts" from one set of totally false facts to a new set of totally false facts

and filed the SAC. And having done that, we were forced to file a second motion to dismiss and

serve a second rule 11 motion.

        21.     Then, as discussed above, on the very eve of when Plaintiff's opposition to our

motion to dismiss was due, and only days before we would be entitled to file our second Rule 11

motion, Plaintiff and Mr. Blackburn belatedly reached out, offering to dismiss all of the claims

and all of the allegations made against UMG with prejudice.

        22.     Perhaps they hoped that by so doing, they could evade any penalty for their

conduct. They should not be so allowed. There should be a penalty here and consistent with 28

U.S.C. § 1927, that penalty should bear some correlation to the legal fees and expenses that

UMG could have avoided incurring. And even that will not remotely remediate the reputational

and professional harm that Sir Lucian Grainge has suffered and the personal cost he has borne

due to the offensively false accusations that the Plaintiff and Mr. Blackburn leveled against him.

        23.     As Judge Cote has already found, Mr. Blackburn has exhibited a disturbing

pattern of conduct, filing salacious allegations that have no basis in fact to attract publicity for

himself and to try to extract undeserved settlements. From the outset, UMG, having been



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unjustly accused, were never going to yield to such tactics. But that does not mean that fighting

back against such tactics has been without serious cost. The question here is whether UMG

should be forced to bear that cost, with Mr. Blackburn and Plaintiff getting off scot free, or

whether Plaintiff and Mr. Blackburn should bear that cost. I submit that, in this case with these

facts (as set forth in detail in the accompanying declarations), it is clear that Plaintiff and Mr.

Blackburn should be required to pay that cost.

       24.      For all of the reasons that are detailed in the attached declarations, UMG should

be awarded sanctions under 28 U.S.C. § 1927 and under the inherent power of this Court that are

meaningful and effective to deter the conduct of Plaintiff and Mr. Blackburn and that will stand

as a warning to others who would misuse the Federal Courts as has been done here.


I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Dated: May ii‘ , 2024




                                                       Donald S. Zakarin




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